UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X

UNITED STATES OF AMERICA                            :            14 Cr. 68 (KBF)

                 - against -                        :            (Electronically Filed)

ROSS ULBRICHT,                                      :

                                    Defendant.        :
------------------------------------------------------X




    MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT ROSS ULBRICHT’S
     PRE-TRIAL MOTIONS CHALLENGING THE FACE OF THE INDICTMENT




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                                          Introduction

       This Memorandum of Law is submitted on behalf of defendant Ross Ulbricht in support

of his pretrial motions addressing the face of the Indictment, which charges Mr. Ulbricht with

Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substances, in

violation of 21 U.S.C. §846 (Count One), Continuing Criminal Enterprise, in violation of 21

U.S.C. §848(a) (Count Two), Conspiracy to Commit Fraud and Related Activity in Connection

with Computers, in violation of 18 U.S.C. §1030(b) (Count Three), and Money Laundering, in

violation of 18 U.S.C. §1956(h) (Count Four). For the reasons set forth below, it is respectfully

submitted that all of the charges against Mr. Ulbricht should be dismissed.

       As detailed below, the Indictment advances an unprecedented and extraordinarily

expansive theory of vicarious liability under certain statutes – particularly 21 U.S.C. §§846 &

848, and 18 U.S.C. §1030(a)(2), that would impose criminal responsibility upon Mr. Ulbricht

based on the conduct, knowledge, and intent of others.

       There are several fatal flaws in that approach:

       (1)     as review of the case law establishes, the statutes do not cover the conduct alleged

               against Mr. Ulbricht. Nor were those statutes intended to cover such conduct,

               and, indeed, they have never been applied to it before. Analogously, no landlord

               has been prosecuted under the federal controlled substances statutes for renting an

               apartment to a know drug seller. Nor has any internet service provider been

               prosecuted because users of the service engage in illegal transactions using the

               provider’s internet service;

       (2)     to the extent Mr. Ulbricht’s alleged conduct is even arguably covered by the


                                                1
              statutes, two rules of statutory construction – the rule of lenity, and the doctrine of

              constitutional avoidance – restrict the ambit of the statutes, and render them

              inapplicable here;

       (3)    47 U.S.C. §230, provides absolute civil immunity to a “provider or user of an

              interactive computer service” by declaring that such provider or user shall not “be

              treated as the publisher or speaker of any information provided by another

              information content provider.” 47 U.S.C. §230(c)(1). While that immunity is

              expressly not intended to “impair the enforcement of . . . any [] Federal criminal

              statute[,], see 47 U.S.C. §230(e)(1), it nevertheless informs the discussion with

              respect to not only internet policy regarding liability for the conduct of others, but

              also the application of the rule of lenity and the doctrine of constitutional

              avoidance; and

       (4)    if, assuming arguendo the statutes apply to Mr. Ulbricht’s alleged conduct, they

              fail to provide adequate notice of what conduct is proscribed and/or subject to

              arbitrary and discriminatory enforcement, and therefore is unconstitutionally

              vague as applied to Mr. Ulbricht in this case. Moreover, to the extent the alleged

              conduct involves protected speech, the statutes are unconstitutionally overbroad,

              and invalid in this case.

       Also, §1030 suffers from a specific additional vagueness because the pivotal term “access

without authorization” in §1030(a)(2)(C) is undefined, thereby potentially encompassing conduct

by others for which Mr. Ulbricht lacks any notice of criminality, much less knowledge and

intent. That vagueness is amplified by the attenuation of Mr. Ulbricht from any conduct that a


                                                2
purchaser or user of software might perform that could arguably violate §1030.

       In addition, Count Four, which alleges money laundering, is defective because it fails to

allege sufficiently an essential element of the offense – that Mr. Ulbricht engaged in, or

conspired to engage in, “financial transactions” under §§1956(a)(1)(A)(i) or (B)(i) – as Bitcoin,

the alleged “payment system that served to facilitate the illegal commerce conducted on the

site,” see Indictment, at ¶ 18 (p. 7), does not constitute either “funds” [in §1956(c)(4)(A)(i)] or a

“monetary instrument[]” [defined in §1956(c)(5)], either of which is a necessary component of

“financial transaction” [defined in §1956(c)(4)].

       Accordingly, for all the reasons set forth above and detailed below, it is respectfully

submitted that the Indictment should be dismissed.

                                      Statement of the Facts

       As noted ante, the Indictment charges Mr. Ulbricht with devising and operating Silk

Road, an “underground website” allegedly “designed to enable users across the world to buy and

sell illegal drugs and other illicit goods and services anonymously and outside the reach of law

enforcement.” Indictment at ¶ 1. Mr. Ulbricht is alleged to have owned and operated the site

“with the assistance of various paid employees who he managed and supervised” from in or

about January 2011 through in or about October 2013, when Silk Road was shut down by law

enforcement. Id., at ¶¶ 2, 3.

       According to the Indictment, during the period that the Silk Road website was

operational it “emerged as the most sophisticated and extensive criminal marketplace on the

Internet” and was “used by several thousand drug dealers and unlawful vendors to distribute

hundreds of kilograms of illegal drugs and other illicit goods and services to well over a hundred


                                                  3
thousand buyers worldwide.” Id., at ¶ 2.

        The website is also alleged to have been used “to launder hundreds of millions of dollars

from these illegal transactions.” Id. The Indictment further alleges that Mr. Ulbricht “reaped

commissions worth tens of millions of dollars” from the many sales conducted on his website,

and that he “solicit[ed] the murder-for-hire of several individuals he believed posed a threat” to

Silk Road in order to “protect his criminal enterprise and the illegal proceeds it generated.” Id.,

at ¶¶ 3, 4.

        The Indictment includes four counts:

        !      Count One charges Mr. Ulbricht with a narcotics trafficking conspiracy, in

               violation of 21 U.S.C. §846, for his alleged role in providing a platform for drug

               dealers to buy and sell drugs, including heroin, cocaine, lysergic acid diethyamide

               (“LSD”), and methanthetamine via the Internet. Count One alleges that as a part

               and object of that conspiracy Mr. Ulbricht and others (1) distributed and

               possessed with the intent to distribute controlled substances in violation of 21

               U.S.C. §841(a)(1); (2) delivered, distributed, and dispensed controlled

               substances “by means of the Internet” and aided and abetted that activity, in

               violation of 21 U.S.C. §841(h); and (3) knowingly and intentionally “used a

               communication facility in committing and in causing and facilitating the

               commission” of felonies pursuant to 21 U.S.C. §§841, 846, 952, 960, and 963,

               and in violation of 21 U.S.C. §843(b) (see Indictment at ¶¶ 6-9);

        !       Count Two charges Mr. Ulbricht with engaging in a Continuing Criminal

               Enterprise by knowingly and intentionally violating 21 U.S.C. §§841, 843 & 846,


                                                 4
    which violations were part of a continuing series of violations, in violation of 21

    U.S.C. §848(a). Count Two alleges that these violations were committed by Mr.

    Ulbricht “in concert with at least five other person with respect to whom Ulbricht

    occupied a position of organizer, a supervisory position, and a position of

    management” and that Mr. Ulbricht “obtained substantial income and resources”

    from the continuing series of violations (see Indictment at ¶ 12);

!   Count Three charges Mr. Ulbricht with a computer hacking conspiracy, in

    violation of 18 U.S.C. §1030 (b), asserting that the Silk Road website allegedly

    “provided a platform for the purchase and sale of malicious software designed for

    computer hacking, such as password stealers, keyloggers, and remote access

    tools” and that Mr. Ulbricht and others “intentionally access[ed] computers

    without authorization” and thus “obtain[ed] information from protected

    computers, for purposes of commercial and financial gain” (see Indictment at ¶¶

    14, 16); and

!   Count Four charges a money laundering conspiracy, in violation of 18 U.S.C.

    §1956(h), contending that Mr. Ulbricht allegedly “designed Silk Road to include

    a Bitcoin-based payment system that served to facilitate the illegal commerce

    conducted on the site, including by concealing the identities and locations of the

    users transmitting and receiving funds on the site” (see Indictment at ¶ 18). The

    Indictment further alleges that it was “part and an object of the [money

    laundering] conspiracy” that he and others “conduct[ed] and attempt[ed] to

    conduct financial transactions, which in fact involved the proceeds of specified


                                      5
               unlawful activity, to wit, narcotics trafficking and computer hacking” and that

               they did so “knowing that the property involved in certain financial transactions

               represented proceeds from some form of unlawful activity”(see Indictment at ¶

               20).

       The Indictment also includes forfeiture allegations pursuant to 18 U.S.C. §§981 & 982,

21 U.S.C. § 853, and 28 U.S.C. §2461. See Indictment at ¶ 22-24.

       Mr. Ulbricht has pleaded not guilty to all charges. These motions follow.


                                          ARGUMENT

                                             POINT I

                       COUNTS ONE, TWO, AND THREE SHOULD BE
                       DISMISSED BECAUSE THE CONDUCT CHARGED
                       THEREIN AGAINST MR. ULBRICHT DOES NOT
                       STATE AN OFFENSE UNDER THE ENUMERATED
                       STATUTES AND BECAUSE EVEN IF THE CONDUCT DID
                       STATE AN OFFENSE, THOSE STATUTES WOULD BE
                       UNCONSTITUTIONALLY VAGUE AS APPLIED IN THIS CASE

       As detailed below, Counts One, Two, and Three suffer from similar, and fatal, defects:

the allegations therein do not state an offense under the specific statutes underlying each count.

Regarding Counts One and Two, alleging a narcotics trafficking conspiracy and a Continuing

Criminal Enterprise, neither statute was intended, or has ever been used, to prosecute the conduct

alleged against Mr. Ulbricht – that he operated a web site through which other persons – sellers

and purchasers – committed illegal activity.1


       1
         For purposes of these motions, and because challenges to an Indictment on its face do
not involve disputing the facts alleged therein, the conduct of the Silk Road and Dread Pirate
Roberts will be attributed nominally to Mr. Ulbricht. However, of course, that does not in any
way constitute an admission by him with respect to any allegation in the Indictment.

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       Regarding Count Three, it utterly fails to connect Mr. Ulbricht to any illegal conduct –

the unauthorized access to any computer. Merely offering for sale software that the purchaser

and/or ultimate user might utilize to commit a crime cannot transfer that person’s intent –

unknown to Mr. Ulbricht, not communicated to him, and perhaps not even manifested by the

purchaser or seller at the time of the transaction on Silk Road – to Mr. Ulbricht for purposes of

establishing the necessary mens rea to constitute a violation of 18 U.S.C. §1030(a)(2).

       Also, with respect to Counts One, Two, and Three, two important rules of statutory

construction – the rule of lenity, and the doctrine of constitutional avoidance – operate

convincingly to compel dismissal of those counts. In addition, a civil statute, 47 U.S.C. §230,

which provides immunity for internet providers for content posted by others, further informs the

analysis and confirms that the statutes charged in Counts One, Two, and Three do not cover the

conduct alleged against Mr. Ulbricht.

       Moreover, should the statutes at issue be deemed to proscribe Mr. Ulbricht’s conduct,

they would be unconstitutionally vague as applied to him because they present the twin

deficiencies of inadequate notice of what is prohibited as well as the danger, realized herein, of

arbitrary and discriminatory enforcement.

A.     The Applicable Law Regarding Challenges to the Sufficiency of an Indictment

       As the Second Circuit has declared, “[a]n indictment that fails to allege the essential

elements of the crime charged offends both the Fifth and Sixth Amendments.” United States v.

Pirro, 212 F.3d 86, 92 (2d Cir. 2000) (citing Russell v. United States, 369 U.S. 749, 760-61

(1962)). As the Court in Pirro explained, “‘[t]he Indictment Clause of the Fifth Amendment

requires that an indictment contain some amount of factual particularity to ensure that the


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prosecution will not fill in elements of its case with facts other than those considered by the

grand jury.’” Id. (quoting United States v. Walsh, 194 F.3d 37, 44 (2d Cir. 1999)). See also

United States v. Gonzalez, 686 F.3d 122, 128-30 (2d Cir. 2012).

         In Pirro the Court added that the Sixth Amendment “guaranty of the defendant’s right ‘to

be informed of the nature and cause of the accusation’ against him is also offended by an

indictment that does not state the essential elements of the crime.” 212 F.3d at 93, quoting

Russell, 369 U.S. at 761, and citing Walsh, 194 F.3d at 44. As a result, “the indictment must

state some fact specific enough to describe a particular criminal act, rather than a type of crime.”

212 F.3d at 93; see also United States v. Hashmi, not reported in ___ F.Supp.2d ___, 2009 WL

404281, *3 (S.D.N.Y. 2009).2

         Rule 12(b), Fed.R.Crim.P., provides in relevant part that “[a]ny defense, objection, or

request that the court can determine without a trial of the general issue” may be raised before

trial by motion. Courts have routinely held that “[f]or purposes of Rule 12(b)(2), a charging

document fails to state an offense if the specific facts alleged in the charging document fall

beyond the scope of the relevant criminal statute, as a matter of statutory interpretation.” United

States v. Panarella, 227 F.3d 678, 685 (3d Cir. 2000). See also United States v. Aleynikov, 676

F.3d 71, 75-76 (2d Cir. 2012); United States v. Alsugair, 2003 WL 1799003 (D.N.J. April 3,

2003).

         Thus, if the facts alleged in the charging document do not establish the crime charged,



         2
           In Pirro, an interlocutory appeal by the government, the Second Circuit upheld the
district court's order striking a portion of one of the counts of the indictment which failed to
allege an essential element of a tax fraud charge, i.e., a material false representation. 212 F.3d at
93.

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the charge must be dismissed. Panarella, 227 F.3d at 685. The indictment here does not satisfy

these constitutional and statutory standards with respect to Counts One, Two, or Three.3

         In addition, the requirements enunciated in Pirro and Russell are all the more important

in the context of complex inchoate crimes (as opposed to simple, single-event offenses) that

require knowledge and specific intent, as well as additional unusual or peculiar elements that are

present in this case. See e.g. United States v. LaSpina, 299 F.3d 165, 177-78 (2d Cir. 2002).

         Accordingly, the Indictment must be scrutinized to determine whether it meets these

constitutional and statutory standards, and such scrutiny reveals that the Indictment is fatally

deficient.

B.       The Statutes Cited In Counts One, Two, and Three
         Do Not Cover the Conduct Alleged Against Mr. Ulbricht

         Examination of the statutes underlying the allegations in Counts One, Two, and Three

demonstrates that they do not cover the conduct alleged against Mr. Ulbricht.

         1.     Count One: The Controlled Substances Trafficking Conspiracy

         Count One charges Mr. Ulbricht with conspiracy to possess and possess with intent to

distribute controlled substances. Yet Mr. Ulbricht is not alleged to be either the seller or

purchaser of controlled substances (or the possessor at any point during such transactions).

Rather, he is alleged to have operated a website, Silk Road, that enabled such transactions to

occur.

         The Silk Road website is described in the Indictment, at ¶1, as “an underground website

. . . designed to enable users across the world to buy and sell illegal drugs and other illicit goods


         3
         Of course, “it is a settled rule that a bill of particulars cannot save an invalid
indictment.” Russell, 369 U.S. at 770. See also Pirro, 212 F.3d at 95 n. 10 (same).

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and services[.]” Yet that does not describe a co-conspirator in the controlled substances

transactions because a landlord – in this instance, with Silk Road acting as the digital landlord

for its tenants (the alleged “drug dealers,” “unlawful vendors” and other “users” of the Silk Road

website) – is a not a co-conspirator of, and/or liable for, the criminal conduct of his tenants,

under §846 regardless whether the landlord possesses knowledge that the premises are being

used for illegal purposes.

       Indeed, federal law specifically covers the question of liability for those whose property

is used for purposes of illegal drug activity. For example, pursuant to 21 U.S.C. §881(a)(7),

when a landlord knows his property is being ”used, or intended to be used, in any manner or part,

to commit, or to facilitate the commission of a violation of [the United States Code] punishable

by more than one year’s imprisonment” the penalty is civil forfeiture of the property, not

criminal liability. See also, e.g., United States v. All Right , Title and Interest in Real Property

And Appurtenances Thereto Known As 143-147 East 23rd Street, 888 F.Supp. 580, 583 (S.D.N.Y.

1995) (imposing fine in the form of forfeiture of landlord’s property when “landlord does not

dispute that [the property] was used for drug trafficking and that the claimant knew about the

trafficking”).

       In fact, civil forfeiture, and not criminal liability, is the default cause of action even if a

landlord creates conditions on his property that nurture or foster illegal activity. See, e.g., 143-

147 East 23rd Street, 888 F.Supp., at 586-87 (“a colorable criminal case may exist” against the

management, but imposing a fine even when the property, under its management, “provided

seclusion and privacy for the consummation of drug transactions . . . in excess of the seclusion

that one could obtain from an ordinary hotel”).


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       In addition, in October 1986, decades after §§841 and 846 were effective, and a full 16

years after the enactment of 21 U.S.C. §881, which prescribes civil forfeiture penalties, Congress

enacted 21 U.S.C. §856 to address a particular scourge – “crack houses.” The text of and

legislative history for §856 make it clear that it imposes criminal liability only on persons whose

premises are operated for the purpose of manufacturing, storing, distributing or using a

controlled substance. See H 5484, 99th Cong, 2d Sess (Sept 8, 1986), in 132 Cong Rec S 26473,

26474 (Sept 26, 1986) (purpose of §856 was to “[o]utlaw operation of houses or buildings,

so-called ‘crack-houses,’ where ‘crack,’ cocaine and other drugs are manufactured or used”);

see also Historical and Statutory Notes to 21 U.S.C. §856. Hence, §856's colloquial name: the

“Crack House Statute.”

       Plainly, §856 was intended to cover a gap in the criminal code: conduct that was not

covered by pre-existing law (i.e., §§841, et seq.). Just as clearly, Congress, no doubt advised by

the Department of Justice, sought to create a vehicle for holding criminally liable those whose

premises were used, with their knowledge and intent, for the particular criminal activity

described in §856. If either §841 or §846 were available to punish such conduct, §856 would

have been unnecessary and superfluous.

       Indeed, §856 might be viewed as counterproductive because the range of penalties for

violating §856 – “a term of imprisonment of not more than 20 years or a fine not more than

$500,000, or both[,]” see 21 U.S.C. §856 (b); see also §856(a)(1) & (2) – are far less severe than

those available under either §841(b)(1)(A) [or (b)(1)(B)] or §846.4


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          Consistent with Congress’s express purpose in enacting §856, it has been primarily
applied to punish those individuals involved in operating drug manufacturing or distributing
operations out of crackhouses, warehouses, or large drug manufacturing and storage facilities.

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       Thus, neither §841 nor §846 cover the conduct alleged against Mr. Ulbricht. Also, under

the government’s theory a whole array of web hosts, internet service providers, and web sites

could be liable for the criminal conduct (and not just narcotics trafficking) of those who avail

themselves of the particular services offered or enabled by those internet entities.

       For example, search engines and internet service providers are fully aware that the

internet contains illegal web site content accessible to their consumers – whether it is child

pornography, pirated copyrighted works (video or otherwise), jihadist recruitment or radicalizing

materials that constitute “material support” for terrorism, or instructions on how to construct

explosive devices – as well as a whole range of predatory activity, from chat rooms to ordinary

or sophisticated fraudulent schemes, without being prosecuted for that conduct either as a

principal or aider and abettor.5



See United States v. Wicker, 848 F.2d 1059 (10th Cir.1988) (methamphetamine lab); United
States v. Martinez–Zyas, 857 F.2d 122 (3rd Cir.1988) (cocaine warehouse and packaging
facility); United States v. Bethancurt, 692 F.Supp. 1427 (D.C. Dist.Ct.1988) (crack house);
United States v. Restrepo, 698 F.Supp. 563 (E.D.Pa.1988) (cocaine warehouse). But see United
States v. Tamez, 941 F.2d 770, 773-74 (9th Cir. 1991) (owner of used car dealership who was
aware of large-scale drug distribution activities emanating from his dealership, and allowed them
to continue, was guilty of violating §856(a)(2)); United States v. Chen, 913 F.2d 183, 185, 191
(5th Cir. 1990) (same re: motel owner who was aware of and/or willfully blind to the fact that her
motel was occupied by drug dealers who sold drugs in the rooms and on the premises, and who
also stored drugs at her motel).
       5
          In the copyright context, it is doubtful that operating a site that provides hyperlinks to
streaming versions of pirated material is even a civil, much less criminal, violation. See, e.g.,
Perfect 10, Inc., v. Amazon.com, Inc., 508 F.3d 1146 (9th Cir.2007) (linking not a copyright
violation); Flava Works, Inc. v. Gunter, 689 F.3d 754 (7th Cir. 2012) (viewing a “stream” does
not constitute a copyright violation); United States v. Rojadirecta.org, 11 Civ. 4139 (PAC)
(S.D.N.Y.) Notice of Voluntary Dismissal, Document 55, August 29, 2012 (government moved
to vacate seizure warrants in light of “recent judicial authority involving issues germane to the . .
. action”); WPIX, Inc. v. ivi, Inc., 691 F.3d 275 (2d Cir. 2012) (“streaming” implicates only a
public performance right of a copyright holder, and not the right of reproduction in copies or
public distribution of copies by sale or other transfer of ownership, or by rental, lease or

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        Also, the conduct alleged against Mr. Ulbricht is analogous to a “steerer” in a drug

transaction, which is not equivalent to a co-conspirator. In fact, it is well-settled under Second

Circuit case law that “evidence adduced by the government merely show[ing] that [an

individual] helped a willing buyer locate a willing seller . . . , standing alone, is insufficient to

establish the existence of an agreement between the facilitator and the seller.” United States v.

Tyler, 758 F.2d 66, 69 (2d Cir. 1985) (evidence of facilitator’s role insufficient to establish the

existence of a conspiracy between facilitator and seller), citing United States v. Hysohion, 448

F.2d 343, 347 (2d Cir. 1971) (“fact that Rimbaud told Everett, a willing buyer, how to make

contact with a willing seller does not necessarily imply that there was an agreement between that

seller . . . and Rimbaud”); United States v. Torres, 519 F.2d 723, 726 (2d Cir. 1975)

(“membership in a conspiracy is not established . . . by the fact that a defendant told a willing

buyer how to make contact with a willing seller”).

        Consequently, for all these reasons, it is respectfully submitted that Count One fails to

state an offense under 21 U.S.C. §846, and must therefore be dismissed.

        2.      Count Two: The Continuing Criminal Enterprise

        Count Two, charging the Continuing Criminal Enterprise (hereinafter “CCE”) violation,

suffers from two fatal flaws: (a) it fails to allege satisfactorily that Mr. Ulbricht occupied the

requisite management authority – not surprising considering the unique nature of the allegations

against Mr. Ulbricht under §848(a), heretofore reserved for “kingpins” of drug-trafficking

organizations, or their upper management; and (b) it fails to identify the “continuing series” of

predicate violations with sufficient specificity.



lending).

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               a.      Count Two Fails to Allege Sufficiently That Mr. Ulbricht
                       Occupied a “Position of Organizer, a Supervisory Position,
                       and a Position of Management” Necessary to a CCE Violation

       Pursuant to the standards set forth ante, at 7-9, Count Two is deficient because it fails to

allege any conduct that could establish Mr. Ulbricht as occupying a “position of organizer, a

supervisory position, and a position of management” required to for a violation of §848(a).

Essentially, §848 has been directed – in its passage as well as implementation – at “kingpins”

and upper supervisory personnel directly involved in the sale of controlled substances. No one

in Mr. Ulbricht’s position – allegedly operating a web site serving as a “platform” for illegal

activity – has ever been prosecuted under §848(a).

       As a result, citing only Mr. Ulbricht’s alleged role as owner and operator of the Silk Road

website, the Indictment fails to allege any conduct rising to the level of organizer, supervisor or

manager, as that element has been defined and interpreted by the courts. Although CCE

prosecutions pursuant to §848 traditionally encompass straightforward narcotics conspiracies,

with a visible structure or hierarchy, the government still must demonstrate that the relationship

between the defendant and at least five individuals with whom he undertook the series of

violations, satisfies the definition of supervisory. See also United States v. Casamento, 887 F.2d

1141 (2d Cir. 1989); United States v. Cruz, 785 F.2d 399 (2d Cir. 1986).

       Culpability for Mr. Ulbricht under §848(a) in this case would require that he “occup[ied]

a position of organizer, a supervisory position, or any other position of management” in regard to

those persons engaging in the continuing series of violations giving rise to the criminal

enterprise, i.e., those “users” of the Silk Road website who bought and sold “illegal drugs and


                                                 14
other illicit goods and services” through the site. See 21 U.S.C. §848(c)(2)(A); Indictment, at

¶ 1.

       But, while Mr. Ulbricht is alleged to have played a supervisory role in regard to

administrators of the Silk Road site (those responsible for keeping the site up and running), and

the government characterizes those persons as “employees whom [the defendant] managed and

supervised,” he is not alleged to have supervised, organized, or managed any of the many

“users” who were buying and selling drugs and other illicit goods and services on the site. See

Indictment at ¶3 (“the defendant [] controlled all aspects of Silk Road [] with the assistance of

various paid employees who he managed and supervised”).

       Indeed, the fact that the government characterizes those persons who went on the Silk

Road site to buy and sell drugs and other illicit goods and services as “users” and not

“employees,” makes clear that Mr. Ulbricht did not manage or supervise those persons, in

particular when the government uses the term “employee” in the Indictment to identify those

persons Mr. Ulbricht allegedly supervised. See Indictment at ¶1 (“the defendant, created . . .

‘Silk Road’ . . . to enable users across the world to buy and sell illegal drugs and other illicit

goods and services”); ¶ 2 (“the wesbite was used by several thousand drug dealers and other

unlawful vendors to distribute hundreds of kilograms of illegal drugs and other illicit goods and

services”) (emphasis added). See also Criminal Complaint, at ¶¶ 26-28 (pp. 19-20);

       Accordingly, the language in the Indictment makes plain that, at worst, Mr. Ulbricht

allegedly acted as a conduit or facilitator for those engaging in illegal activity – “design[ing]

[Silk Road] to enable users to buy and sell illegal drugs and other illicit goods and services” and

“providing a platform for drug dealers around the world to sell a wide variety of controlled


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substances via the Indictment” – but never as the “kingpin” or leader of any continuing criminal

enterprise. See Indictment at ¶¶ 1, 10(a).

       Also, it is obvious that here the role attributed to Mr. Ulbricht falls well short of the outer

limits established by the courts. United States v. Amen, 831 F.2d 373, 381 (2d Cir. 1987) (it is

clear from the legislative history that the “purpose...was not to catch in the CCE net those who

aided and abetted the supervisors' activities”). For example, in Casamento the Court held that

the government had failed to establish that the defendant at issue was directing the activities of at

least one of the five individuals required to violate the statute because the defendant’s interaction

with that person did not demonstrate that the defendant was directing the individual’s activity.

Casamento, 887 F.2d at 1161-62.

       The Court in Casamento reached that conclusion not only because the government failed

to present any evidence that the defendant gave orders directly, or through someone else, to the

individual, but also because evidence that the defendant communicated information from his

superiors within the conspiracy to one of the individuals was insufficient to demonstrate that the

defendant was directing that person’s activities. Id.

       In addition, in United States v. Walker the Court concluded that although direct contact is

not necessary to establish that the defendant manages, supervises or directs another’s activities,

in order to prove the requisite management role the government must demonstrate that the

“defendant’s management ran down the enterprise's hierarchy through [someone] acting as a

second-level manager.” United States v. Walker, 912 F.Supp. 646, 650-51 (S.D.N.Y. 1996).

       Yet §848(a) has never been applied or interpreted to cover a person operating a website

through which illegal transactions were executed, even one allegedly providing mechanisms for


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concealing activity accomplished through the site. By alleging only that Mr. Ulbricht owned and

operated a website that served as a marketplace or “platform” for illegal transactions conducted

by members of the general public, Count Two does not sufficiently allege that he had any

control, or even any direct contact, with any of the individuals involved in those transactions, let

alone five with whom he undertook a series of violations of federal narcotics laws. As a result,

Count Two must be dismissed.

               b.      Count Two Fails to Enumerate the Requisite Predicate Series
                       of Violations Necessary to a Violation of 21 U.S.C. §848

       Count Two of the Indictment alleges that Mr. Ulbricht engaged in a CCE, in violation of

§848, by “knowingly and intentionally violat[ing] Title 21 U.S.C. §§841, 843, and 846, which

violations were part of a continuing series of violations[.]”

       That description abjectly fails to set forth an essential element of the offense – the “series

of violations” – in violation of both Rule 7(c), Fed.R.Crim.P., and the Fifth and Sixth

Amendments. See discussion ante, at 7-9. Absent that enumeration, the government is free to

amend the Indictment at its pleasure, potentially substituting any alleged illegal drug transactions

for those voted on by the grand jury. In addition, given the alleged volume of such transactions

– the Indictment numbers them in the potentially hundreds of thousands– without such

specificity Mr. Ulbricht will be unable to defend effectively against the particular transactions

that form the basis of the CCE allegation.

       As detailed ante, at 7-9, and post, at 18-20, merely tracking the language of the statute,

as the Indictment does here, does not satisfy the minimal requirements – under the Federal Rules

of Criminal Procedure as well as the Constitution – that the Indictment inform Mr. Ulbricht

satisfactorily of the “nature and cause of the accusation,” and constrain the government to the

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facts “considered by the grand jury.” Pirro, 212 F.3d at 92.

       In particular, when alleging a violation of a statute which includes “generic terms,” the

Indictment must include some “fact specific enough to describe a particular criminal act, rather

than a type of crime.” Pirro, 212 F.3d at 93.

       Regarding §848 specifically, the Supreme Court has indisputably determined that the

clause “continuing series of violations” refers to an essential element composed of a particular

minimum set of transactions about which a jury must be unanimous in order to find a violation of

the statute. Richardson v. United States, 526 U.S. 813, 824 (1999) (jury may not simply agree

that defendant committed three underlying crimes but must unanimously agree on which of the

three or more individual violations constituted the “continuing series”). Thus, the statutory

language itself clearly does not “embod[y] all the elements of the crime.” United States v.

Guterma, 189 F.Supp. 265, 270 (S.D.N.Y. 1960) (citing United States v. Debrow, 346 U.S. 374

(1953)).

       In that context, merely directing Mr. Ulbricht, as the Indictment, at ¶ 12 does here, to

three other extremely broad provisions of criminal law, none of which serve to clarify the

specific offense with which he has been charged, and all of which employ similarly generic

language, cannot cure the failure to sufficiently allege an essential element of the offense. See

Richardson, 526 U.S. at 817-24.

       Nor does Count One, which does not include any specificity with respect to individual

substantive transactions, assist in providing the necessary detail. In fact, the volume of

transactions alleged generally within Count One aggravate the problem rather than cure it, as the

alleged haystack is so enormous that it defies identifying with any confidence the “continuing


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series” upon which the grand jury relied, and to which the government must be limited in

attempting to prove Count Two.

        In United States v. Gonzalez, the Second Circuit pointed out that in the context of an

indictment that cited the statutory section corresponding to a mandatory minimum quantity

would not suffice because “without a factual allegation as to quantity in the indictment, and

without factual allegations in the indictment from which the grand jury's determination to charge

such a quantity could be inferred, . . .” 686 F.3d at 127.

        As the Circuit elaborated in Gonzalez, “’[s]tated another way,’ the mere citation of a

statutory section ‘is of scant help in deciding whether the grand jury considered [the] . . .

essential element.’” Id., at 129, quoting United States v. Camp, 541 F.2d 737, 740 (8th Cir. 1976).

        Moreover, as the Circuit reasoned in Gonzalez, “[i]f citation of the statute were a

statement of the facts, nothing beyond a citation would be necessary. Surely no one could assert

persuasively that an indictment that merely charged that a defendant violated a cited statute

would suffice as an indictment.” Id., quoting Camp, 541 F.2d at 740. See also id., at 132 (there

was “no reason to believe that members of a grand jury, in determining what charges to bring,

think in terms of statutory subsections rather than in terms of facts”).

        Thus, ultimately, the Court in Gonzalez concluded that

               [i]f it was indeed the intention of the grand jury to allege that
               Gonzalez conspired to distribute and possess with intent to
               distribute 500 grams or more of cocaine, we would expect the
               grand jury to have alleged that fact in words, rather than by simply
               changing a letter in a statutory citation.

Id., at 132.

        In addition, Mr. Ulbricht’s alleged role – indirect and attenuated, and not involved


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directly as seller or purchaser – exacerbates the difficulty of ascertaining the identity of the

components of the requisite “continuing series.” These impediments are further amplified by the

complex, compound nature of the offenses charged, their inchoate nature, and the elements

peculiar to them. See, e.g., LaSpina, 299 F.3d at 177-78.

       In United States v. Flaharty, 295 F.3d 182, 197-98 (2d Cir. 2002), the Second Circuit

held that an indictment need not articulate the specific ingredients of the “continuing series.”

However, in Flaharty, the Court addressed an indictment returned (and tried) prior to the

Supreme Court’s decision in Richardson. Also, in Flaharty, the extensive undercover

investigation generated specific sales from the defendants, and searches produced seizures of

drugs in locations used by particular defendants. Id., at 189-90. Thus, notice was not

necessarily an issue in Flaharty.

       Moreover, it is respectfully submitted that Flaharty cannot be reconciled with United

States v. Thomas, 274 F.3d 655 (2d Cir. 2001), in which the Circuit held that both drug quantity

and type constituted essential elements that must be pleaded in the indictment (and in which the

failure to do so constituted plain error). 274 F.3d at 660. Indeed, Flaharty does not even

mention Thomas.

       More recently, in United States v. Gonzalez, the Second Circuit reiterated that “it has

long been the rule in this Circuit that a deficiency in an indictment’s factual allegations of the

elements of an offense is ‘not cured by’ the fact that the relevant count ‘cited the statute that [the

defendant] is alleged to have violated[.]’” 686 F.3d at 128, citing United States v. Berlin, 472

F.2d 1002, 1008 (2d Cir. 1973) (citing cases).

       Yet that is precisely what Count Two does herein with respect to the “continuing series”


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of violations necessary to §848(a). As the Second Circuit cautioned in Gonzalez, “[a]doption of

the government's position to the contrary would plainly elevate form over substance, would

facilitate indictments that contain no factual allegations, and would provide no assurance that an

indictment reflects the judgment of a grand jury rather than only that of the prosecutor.” 686

F.3d at 133.

       Consequently, by alleging only that Mr. Ulbricht violated three statutes, all of which

cover an incredibly broad range of alleged conduct, Count Two fails to allege an essential

element of §848, and does precisely what the Fifth and Sixth Amendments prohibit.

Accordingly, it is respectfully submitted that Count Two of the Indictment must be dismissed.

       3.      Count Three: The Computer Hacking Conspiracy

       Count Three of the Indictment alleges that Mr. Ulbricht participated in a conspiracy to

violate the Computer Fraud and Abuse Act (hereinafter “CFAA”), 18 U.S.C. §1030, by

“intentionally access[ing] computers without authorization, and thereby...obtain[ing] information

from protected computers.” See Indictment, at ¶ 15-16. However, as detailed below, because

Count Three alleges only that the Silk Road website “provided a platform for the [exchange] of

malicious software,” the Indictment fails to allege facts establishing Mr. Ulbricht’s knowing

participation in a conspiracy to violate §1030(a)(2)(C) – that Mr. Ulbricht possessed the

knowledge and intent to access a protected computer without authorization.

       Establishing a violation of 18 U.S.C. §1030(a)(2)(C) requires “proof that the defendant

intentionally accessed information from a protected computer.” United States v. Willis, 476 F.3d

1121, 1125 (10th Cir. 2007) (emphasis added). See also Dedalus Found. v. Banach, ____

F.Supp.2d ____, 2009 WL 3398595 (S.D.N.Y. Oct. 16, 2009). Accordingly, a conspiracy to


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violate §1030(a)(2)(C), requires proof that the defendant agreed to “(1) intentionally access[] a

computer, (2) without authorization . . ., (3) and thereby obtained information.” Willis, 476

F.3d at 1125.

       Thus, a conspiracy to violate §1030(a)(2)(C) requires the mens rea necessary to violate

the substantive statute: the defendant’s intentional accessing of information on a protected

computer, without authorization. Count Three patently fails to allege that Mr. Ulbricht had the

requisite knowledge or intent to conspire. Merely making certain software available to

purchasers does not establish Mr. Ulbricht’s knowledge or intent with respect to the purchasers

or ultimate users.

       Count Three contends merely that the Silk Road website was used as a “platform” for

buying and selling “malicious software designed for computer hacking.” See Indictment, at ¶ 14.

However, providing a marketplace for the purchase and sale of software which may be used

illegally, does not even allege knowledge of a conspiracy, let alone intent to access protected

computers without authorization.

       The intent element in 18 U.S.C. 1030(a)(2)(C) has long been interpreted as requiring that

the government prove the defendant intended to gain access to protected computers without

authorization, and selling software, even with awareness of its potential illegal uses, does not

demonstrate such intent. See United States v. Morris, 928 F.2d 504, 207 (2d Cir. 1990).

       Indeed, even the direct provision of software with potentially illegal applications cannot,

by itself, demonstrate intent to conspire to use that software to access protected computers

without authorization. See e.g. United States v. Zambrano, 776 F.2d 1091, 1094-96 (2d Cir.

1985) (“that a defendant simply supplies goods, innocent in themselves, to someone who


                                                22
intended to use them illegally is not enough to support a conviction for conspiracy . . .

[without]...some indication that the defendant knew of and intended to further the illegal venture

. . . [or] somehow encouraged the illegal use of the goods or had a stake in such use”).

        Although the government characterizes “password stealers, keyloggers, and remote

access tools” as “malicious software designed for computer hacking,” these devices have

numerous legitimate uses and applications, despite having become associated with illegal

activity because of their use in high profile cases or fictional universes. See Indictment, at ¶ 14.

Moreover, Mr. Ulbricht would not know whether the purchaser or ultimate user was intending to

use the software for proprietary research, academic study (by students or professors), security

purposes, or merely to satisfy the particular abstract interest of a particular consumer.

        Indeed, even the FBI solicits malware. An FBI podcast dated March 14, 2014,

announced that “Malware Investigator gives community of interest partners the ability to submit

malware files.” The podcast announcement explains that “Malware Investigator will determine

the damage the file can inflict[,]” and “will provide a technical analysis report to the submitter.”

See <http://www.fbi.gov/news/podcasts/thisweek/malware-investigator.mp3/view>. The FBI

even intends to launch Malware Investigator as a web site this summer. Id.

        Addressing the issue of intent in an analogous context, the case law regarding drug

paraphernalia laws, which raised the specter of a merchant being liable for a customer’s intent, is

instructive. As the Seventh Circuit stated in Levas and Levas v. Village of Antioch, 684 F.2d 446

(7th Cir. 1982), “no one can constitutionally be convicted on the basis of someone else's intent.”

Id., at 450.

        Similarly, in the Southern District of New York, three judges expressed serious, and in


                                                 23
some instances dispositive, reservations with respect to local drug paraphernalia ordinances –

carrying only minor penalties – that created the danger of “transferred intent,” i.e., when the

defendant is saddled with the criminal intent of another. See Brache v. Westchester, 507 F.

Supp. 566, 578, 580 (S.D.N.Y. 1981), rev’d on other grounds, 658 F.2d 47 (2d Cir. 1981);

Franza v. Carey, 518 F. Supp. 342 (S.D.N.Y. 1981); United States v. Glass Menagerie, Inc.,

721 F. Supp. 54, 61 (S.D.N.Y. 1989).

       The CFAA has never been interpreted to encompass within its scope the provision of a

forum for the exchange of software, which could potentially be used by the purchaser or ultimate

user in violation of the statute, as has been alleged here. Therefore, Count Three fails to allege

facts sufficient to constitute a violation of §1030(a)(2), and must be dismissed.

C.     Two Fundamental Rules of Statutory Construction Further Establish That the
       Conduct Alleged In Counts One, Two, and Three Is Not Covered By the Statutes

       While, as set forth above, the plain language of the statutes at issue preclude their

application to Mr. Ulbricht in this case, to the extent any ambiguity exists two fundamental rules

of statutory construction persuasively buttress that conclusion.

       1.      The Rule of Lenity Requires a Narrow Reading of the Statutes At Issue

       When interpreting a criminal statute that does not explicitly reach the conduct in

question, courts should be reluctant to base an expansive reading of the statute on inferences.

See Williams v. United States, 458 U.S. 279, 286 (1982) (applying rule of lenity to a false

statements statute). As the Supreme Court has instructed, “when choice has to be made between

two readings of what conduct Congress has made a crime, it is appropriate, before [choosing] the

harsher alternative, to require that Congress should have spoken in language that is clear and

definite.” United States v. Bass, 404 U.S. 336, 347 (1941). See also Chapman v. United States,

                                                 24
500 U.S. 453, 463 (1991); Rewis v. United States, 401 U.S. 808, 812 (1971) (“ambiguity

concerning the ambit of a criminal statute should be resolved in favor of lenity”), citing Bell v.

United States, 349 U.S. 81, 83 (1955).

       In United States v. Brown, in the context of 18 U.S.C. §666, the Fifth Circuit declared, in

language more applicable to §2339A in this instance in light of the First Amendment interests at

stake, “[w]e resist the incremental expansion of a statute that is vague and amorphous on its face

and depends for its constitutionality on the clarity divined from a jumble of disparate cases.

Instead, we apply the rule of lenity and opt for the narrower, reasonable interpretation that here

excludes the Defendants’ conduct.” 459 F.3d 509, 523 (5th Cir. 2006), citing McNally v. United

States, 483 U.S. 350, 360 (1987). See also United States v. Ford, 435 F.3d 204, 211 (2d Cir.

2006) (“[a]s the Supreme Court noted in its recent decision in [ Arthur Andersen LLP v. United

States, 544 U.S. 696, 703-704 (2005)], restraint must be exercised in defining the breadth of the

conduct prohibited by a federal criminal statute out of concerns regarding both the prerogatives

of Congress and the need to give fair warning to those whose conduct is affected”).

       The Supreme Court quite recently reaffirmed and reinforced the rule of lenity. In

Burrage v. United States, ___ U.S. ___, 134 S.Ct. 881 (2014), the Court explained that

“[e]specially in the interpretation of a criminal statute subject to the rule of lenity, see Moskal v.

United States, 498 U.S. 103, 107–108 [] (1990), we cannot give the text a meaning that is

different from its ordinary, accepted meaning, and that disfavors the defendant. Id., at *7. See

also Ginsburg, J. (joined by Sotomayor, J.), concurring in the judgment, at *9.

       Thus, “given the need for clarity and certainty in the criminal law[,]” id., at *8, the Court

rejected the government’s interpretation of 21 U.S.C. §841(a) in favor of a construction that


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resulted in reversal of the defendant’s conviction. As the Court emphasized, “[u]ncertainty of

that kind cannot be squared with the beyond-a-reasonable-doubt standard applicable in criminal

trials or with the need to express criminal laws in terms ordinary persons can comprehend.” Id.,

at *8, citing United States v. L. Cohen Grocery Co., 255 U.S. 81, 89–90 (1921).

       Thus, as the Court noted in Skilling v. United States, ___ U.S.___, 130 S. Ct. 2896, 2933

(2010), with respect to aspects of 18 U.S.C. §1346, which proscribes mail fraud involving

deprivation of “honest services,” if Congress “desires to go further[,]” and intended to include

the conduct alleged against Mr. Ulbricht within the scope of the statutes at issue in Counts One,

Two, and/or Three, “it must speak more clearly than it has.” ___ U.S. at ___, 130 S. Ct. at 2933,

quoting McNally, 483 U.S. at 360. See also United States v. Nosal, 676 F.3d 854, 859 (9th Cir.

2012) (in the context of the CFAA, §1030).

       2.      The Doctrine of Constitutional Avoidance Also Restricts the
               Scope of the Statutes At Issue In Counts One, Two, and Three

       In addition, confirming application of the statutes at issue in the extraordinarily

expansive fashion attempted in the Indictment would also contravene the doctrine of

constitutional avoidance, which applies when “a statute is susceptible of two constructions, by

one of which grave and doubtful constitutional questions arise and by the other of which such

questions are avoided, [a court’s] duty is to adopt the latter.” United States ex rel. Attorney

General, v. Delaware & Hudson Co., 213 U.S. 366, 408 (1909). See also Jones v. United States,

526 U.S. 227, 239-40 (1999). Accord Triestman v. United States, 124 F.3d 361, 377 (2d Cir.

1997); United States v. Al-Arian, 329 F. Supp.2d 1294, 1298 & n. 11 (M.D. Fla. 2004) (relative

to §2339B); United States v. Khan, 309 F. Supp.2d 789, 822 (E.D.Va. 2004) (applying the same

principle to “personnel” in the context of §2339A).

                                                 26
       As this Court recognized in Hedges v. Obama, Not Reported in F. Supp.2d, 2012 WL

1721124 (S.D.N.Y. May 17, 2012),6 “[t]he Supreme Court has instructed courts to ‘refrain from

invalidating more of the statute than is absolutely necessary.’” Id., at *24, quoting Alaska

Airlines, Inc. v. Brock, 480 U.S. 678, 684 (1987) (other citation omitted).

       Accordingly, the Court noted it was “mindful of its responsibility not to enjoin a statute

without considering whether the statute – or the majority of the statute – is susceptible to a

limiting construction that renders the statute constitutional.” Id., (other citations omitted).

       Moreover, other canons of statutory construction further support that conclusion. For

instance, in Arthur Andersen LLP, 544 U.S. at 703, the Court cautioned that,

               “[w]e have traditionally exercised restraint in assessing the reach
               of a federal criminal statute, both out of deference to the
               prerogatives of Congress, Dowling v. United States, 473 U.S. 207
               (1985), and out of concern that ‘a fair warning should be given to
               the world in language that the common world will understand, of
               what the law intends to do if a certain line is passed.’ McBoyle v.
               United States, 283 U.S. 25, 27 (1931).”

Id., quoting United States v. Aguilar, 515 U.S. 593, 600 (1995).

       Also, because, as discussed post, at 35-37, First Amendment activity on the internet is

implicated by the government’s proposed application of the statutes at issue, additional

restrictive principles apply. As the Supreme Court explained in NAACP v. Button, 371 U.S. 415,

433 (1963) (citations omitted), “[t]hese [First Amendment] freedoms are delicate and vulnerable,

as well as supremely precious in our society. The threat of sanctions may deter their exercise

almost as potently as the actual application of sanctions. [ ] Because First Amendment freedoms



       6
        A related opinion by this Court in Hedges v. Obama, 890 F.Supp.2d 424 (S.D.N.Y.
2012) was subsequently reversed by the Circuit on other grounds in 724 F.3d 170 (2d Cir. 2013).

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need breathing space to survive, government may regulate in the area only with narrow

specificity. [ ]” See also Reno v. ACLU, 521 U.S. 844, 871-72 (1997); Humanitarian Law

Project v. US Dept of Justice, 352 F.3d 382, 403-04 (9th Cir. 2003).

D.     The Civil Immunity Afforded Internet Providers By 47 U.S.C. §230 Manifests a Policy
       That Would Be Seriously Undermined By Allowing the Statutes In Counts One, Two,
       and Three to Be Applied to the Conduct Alleged Against Mr. Ulbricht

       In 47 U.S.C. §230, Congress manifested an unmistakable support for a free-wheeling

internet, including one in which providers or users of interactive computer services can operate

without fear of civil liability for the content posted by others.7 While that civil immunity is not

dispositive here, it certainly provides firm and indisputable support for limiting the application of

criminal statutes in the internet context when the alleged illegal conduct itself is performed not

by the defendant, but by others using his web site.

       Section 230's “Findings” section includes the following declarations:

       (3)     The Internet and other interactive computer services offer a forum for a true
               diversity of political discourse, unique opportunities for cultural development,
               and myriad avenues for intellectual activity.

       (4)     The Internet and other interactive computer services have flourished, to the
               benefit of all Americans, with a minimum of government regulation.



       7
         See also Joseph D’Ambrosio and Andrew I. Mandelbaum, “When Does Internet
Service Provider Lose Immunity,” The New York Law Journal, February 20, 2014, available at
<http://www.newyorklawjournal.com/id=1202643655229/when+does+internet+service+provide
r+lose+immunity?mcode=1202615326010&curindex=1&curpage=all>. In discussing attempts
to expand the exceptions to §230(c)’s protections, the authors maintain that “[l]imiting such
immunity by expanding the exceptions, in addition to sowing “confusion and uncertainty, . . .
would also have a chilling effect on legal speech on the Internet because ISP’s, hosts, and site
owners will have a major financial incentive to avoid exposure to liability.” Id., at 4. If
exceptions are widened, “websites will have to decide whether it is worth the headaches, endless
cease and desist letters and threats of litigation to continue operating a blog, website or message
board that permits users to post content freely.” Id.

                                                 28
         (5)    Increasingly Americans are relying on interactive media for a variety of political,
                educational, cultural, and entertainment services.

47 U.S.C. §230(a).

         In §230, Congress also announced policy with respect to internet activity. Thus, §230(b)

states

         [i]t is the policy of the United States—

         (1)    to promote the continued development of the Internet and other interactive
                computer services and other interactive media;
                          *                    *                     *
         (3)    to encourage the development of technologies which maximize user control over
                what information is received by individuals, families, and schools who use the
                Internet and other interactive computer services;
                          *                    *                     *
                . . . and

         (5)    to ensure vigorous enforcement of Federal criminal laws to deter and punish
                trafficking in obscenity, stalking, and harassment by means of computer.

         Implementing that policy, §230(c)(1), entitled “Treatment of publisher or speaker,”

provides that “[n]o provider or user of an interactive computer service[8] shall be treated as the

publisher or speaker of any information provided by another information content provider.[9]”

However, §230(e)(1), entitled “no effect on criminal law,” states “[n]othing in this section shall

be construed to impair the enforcement of section 223 or 231 of this title, chapter 71 (relating to



         8
         An interactive computer service is defined as “any information service, system, or
access software provider that provides or enables computer access by multiple users to a
computer server, including specifically a service or system that provides access to the Internet
and such systems operated or services offered by libraries or educational institutions.” 47 U.S.C.
§230(f)(2).
         9
         An information content provider is defined as “any person or entity that is responsible,
in whole or in part, for the creation or development of information provided through the Internet
or any other interactive computer service.” 47 U.S.C. § 230 (f)(3).

                                                    29
obscenity) or 110 (relating to sexual exploitation of children) of title 18, or any other Federal

criminal statute.”10

         As the Fourth Circuit explained in Zeran v. America Online, Inc., 129 F.3d 327 (4th Cir.

1997):

                [b]y its plain language, §230 creates a federal immunity to any
                cause of action that would make service providers liable for
                information originating with a third-party user of the service.
                Specifically, §230 precludes courts from entertaining claims that
                would place a computer service provider in a publisher's role.
                Thus, lawsuits seeking to hold a service provider liable for its
                exercise of a publisher’s traditional editorial functions – such as
                deciding whether to publish, withdraw, postpone or alter content –
                are barred.

Id., at 330.

         In order to qualify for §230’s immunity, one need merely demonstrate that he provides or

uses an interactive computer service, and that the information contained thereon was provided by

a third-party for use on the Internet or other interactive computer service. Blatzel v. Smith, 333

F.3d 1018, 1030-35 (9th Cir. 2003). In Blatzel, the Ninth Circuit held that an individual who

received an email, made minor edits to it, and then posted the edited version on both his website

and listserv qualified as a provider or user of an interactive computer service. Id.

         Thus, one need not be an Internet Service Provider to qualify for immunity under §230;

mere operation of a website or moderation of a listserv qualifies as a “user of an interactive

computer service.” Id. at 1030-31; see also Gentry v. eBay, Inc., 121 Cal. Rptr. 2d 703, 99


         10
           Notwithstanding §230(e)(1)’s caveat, it is anomalous that the law affords greater
jurisdictional protection to civil litigants, with money or property at stake, than to defendants in
criminal cases whose liberty is in jeopardy. See United States v. Vilar, ___ F.3d ___, 2013 WL
4608948, at *5 (2d Cir. August 30, 2013) (extending the presumption against extraterritoriality
existing in civil law to criminal statutes).

                                                 30
Cal.App.4th 816, 831 & n.7 (2002) (website is an interactive computer service); Schneider v.

Amazon.com, Inc., 31 P.3d 37, 40-41 & n.13 (Wash. Ct. App. 2001) (same). Similarly, providers

and users of Internet e-mail groups or chat rooms are protected by §230’s immunity when the

information complained of was created by a third party. See Noah v. AOL Time Warner, 261

F.Supp.2d 532, 538 (E.D. Va. 2003).

        Moreover, such immunity is absolute. For instance, the Court in Blumenthal v. Drudge,

992 F.Supp. 44, 49 (D.D.C. 1998), noted that “[w]hether wisely or not, [Congress] made the

legislative judgment to effectively immunize providers [and users] of interactive computer

services from civil liability in tort with respect to material disseminated by them but created by

others.”

        In Drudge the Court found defendants immune even though they had contracted with the

author, paid the author a monthly salary, promoted their association with the author, and even

reserved editorial rights to the author’s work. Id. at 51. In rejecting the plaintiffs’ argument that

such involvement effectively removed the defendants from §230’s immunity the Court in

Drudge pointed out that “Congress has made a different policy choice by providing immunity

even where the interactive service provider has an active, even aggressive role in making

available content prepared by others.” Id. at 52 (emphasis added); see also Ben Ezra,

Weinstein, and Co., Inc. v. America Online Inc., 206 F.3d 980, 985-86 (10th Cir. 2000)

(interactive service provider did not transform itself into an information content provider by

deleting portion of original content and was therefore immune from suit under §230).

        In this environment, the allegations in this Indictment contrast dramatically with the

aspirations for an internet free of vicarious liability. In fact, prior to this case, internet service


                                                   31
providers, search engines, or browsers have never been charged criminally for permitting content

or even hosting web sites that tolerate or even promote illegal activity – thereby providing those

web sites and activities the very same “platform” Mr. Ulbricht is alleged to have provided. See

also ante, at 12.11 They are not even liable civilly, as they are protected by §230(c). In fact,

Google is the most common defendant in lawsuits in which §230(c) has been invoked, and other

major ISP’s and browsers have also regularly availed themselves of §230(c) in civil litigation.12

       Accordingly, the findings, policy, and civil immunity codified in §230 support a

decidedly narrow application of the criminal statutes at issue in this case to the conduct alleged

against Mr. Ulbricht.

E.     If the Statutes At Issue In Counts One, Two, and Three Are
       Deemed to Cover the Conduct Alleged Therein Against Mr. Ulbricht,
       They Are Unconstitutionally Vague As Applied to Him In This Case

       1.      The Principles of the “Void for Vagueness” Doctrine

       As this Court explained in Hedges v. Obama,

               [t]o satisfy the Due Process Clause of the Fifth Amendment,
               individuals are entitled to understand the scope and nature of
               statutes which might subject them to criminal penalties. Thus, “[a]
               penal statute must define the criminal offense (1) with sufficient
               definiteness that ordinary people can understand what conduct is
               prohibited and (2) in a manner that does not encourage arbitrary
               and discriminatory enforcement.” Skilling v. United States, 130 S.
               Ct. 2896, 2928 (2010). That analysis is performed against the


       11
          Also, as noted in D’Ambrosio & Mandelbaum’s article (see ante, at n. 7), “Congress
has regularly reiterated and even extended the protections provided by [§230],” as in the
SPEECH Act of 2010, 28 U.S.C. §1 was amended to apply §230's immunity to foreign
defamation judgments).
       12
           As a result, not surprisingly, Facebook, Google, Twitter, and Amazon have submitted
amici briefs in the Sixth Circuit seeking reversal of a District Court decision finding a web site
liable in Jones v. Dirty World, 840 F. Supp.2d 1008 (E.D. Ky. 2012).

                                                 32
                backdrop of a strong presumption of validity given to acts of
                Congress. Id.

2012 WL 1721124, at *22. See also Grayned v. City of Rockford, 408 U.S. 104, 108 (1972).

         The United States Supreme Court has characterized the "void-for-vagueness" doctrine as

“the first essential of due process of law.” Connally v. General Construction Co., 269 U.S. 385,

391 (1926). Likewise, as the Second Circuit stated in Farrell v. Burke, 449 F.3d 470 (2d Cir.

2006), and repeated in Thibodeau v. Portuondo, 486 F.3d 61 (2d Cir. 2007), the void-for-

vagueness doctrine is one of the “most fundamental protections of the Due Process clause[.]”

486 F.3d at 65, quoting Farrell, 449 F.3d at 484.

         Thus, in order to survive a vagueness challenge, “[i]n short, the statute must give notice

of the forbidden conduct and set boundaries to prosecutorial discretion.” United States v.

Handakas, 286 F.3d 92, 101 (2d Cir. 2002). See also United States v. Rybicki, 354 F.3d 124, 132

(2d Cir. 2003) (en banc).

         The doctrine requires that “laws be crafted with sufficient clarity to ‘give the person of

ordinary intelligence a reasonable opportunity to know what is prohibited’ and to ‘provide

explicit standards for those who apply them,’” Betancourt v. Bloomberg, 448 F.3d 547, 552 (2d

Cir.2006), quoting Grayned v. City of Rockford, 408 U.S. at 108. See also Thibodeau, 486 F.3d

at 65.

         Also, as the Court in Grayned pointed out, “a vague law impermissibly delegates basic

policy matters to policemen, judges, and juries for resolution on an ad hoc and subjective basis,

with the attendant danger of arbitrary and discriminatory application." 408 U.S. at 108-09

(footnotes omitted). In addition, “criminal laws are more searchingly examined for vagueness,

because the consequences of imprecision are severe, than are either pure economic regulation

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(with or without quasi-criminal penalties) or civil legislation.” Levas and Levas, 684 F.2d. at

452, citing Village of Hoffman Estates, Inc. v. The Flipside, Inc., 455 U.S. 489, 494-502 (1982).

See also Record Head Corp. v. Sachen, 682 F.2d 672, 674 (7th Cir. 1982).

       The general standards also govern a vagueness challenge “as applied” to a particular

case. See Farrell, 449 F.3d at 486; United States v. Nadi, 996 F.2d 548, 550 (2d Cir. 1993).

See also Thibodeau v. Portuondo, 486 F.3d at 67-68; Handakas, 286 F.3d at 111 (“[t]he

principle that a statute must provide both ‘notice’ and ‘explicit standards’ to survive an

‘as-applied’ constitutional challenge based on vagueness is well established”).13

       Accordingly, in evaluating an as-applied challenge, “in determining the sufficiency of the

notice, a statute must of necessity be examined in the light of the conduct with which a defendant

is charged.” Farrell, 470 F.3d at 491. See also United States v. Sattar I, 272 F. Supp.2d 348,

357 (S.D.N.Y. 2003) (“[a] ‘void for vagueness’ challenge does not necessarily mean that the

statute could not be applied in some cases but rather that, as applied to the conduct at issue in the

criminal case, a reasonable person would not have notice that the conduct was unlawful and

there are no explicit standards to determine that the specific conduct was unlawful”), citing

Handakas, 286 F.3d at 111-12 (other citation omitted).

       The First Amendment implications of the application of the statutes at issue add another

dimension to the analysis. Thus, if the statute under consideration “is capable of reaching



       13
           Also, “[i]n the absence of an accompanying First Amendment challenge, a vagueness
challenge is generally evaluated on an ‘as applied’ basis.” Hedges, 2012 WL 1721124, at *22,
citing Rybicki, 354 F.3d at 129; accord United States v. Whittaker, 999 F.2d 38, 42 (2d
Cir.1993). Here, Mr. Ulbricht’s vagueness challenge includes a First Amendment component, as
well as a separate First Amendment overbreadth element, but with respect to the former
nevertheless asserts an “as applied” rather than “facial” basis. See post, at 35-37.

                                                 34
expression sheltered by the First Amendment, the doctrine demands a greater degree of

specificity than in other contexts.” Farrell, 449 F.3d at 486.

       In NAACP v. Button, the Supreme Court further explained the different presumptions that

apply when First Amendment activities are at issue:

               [i]f the line drawn by the decree between the permitted and
               prohibited activities of the NAACP, its members and lawyers is an
               ambiguous one, we will not presume that the statute curtails
               constitutionally protected activity as little as possible. For
               standards of permissible statutory vagueness are strict in the area
               of free expression.

371 U.S. at 432. See also Kolender v. Lawson, 461 U.S. 352, 357 (1983).

       When Congress has condemned non-speech activity – providing material support to

terrorists – and an individual is accused of performing such conduct through speech, the

individual acts that are alleged to be criminal must be scrutinized to avoid unconstitutional

overreaching into First Amendment protected activity. Dennis v. United States, 341 U.S. 494,

505 (1951). See also Yates v. United States, 354 U.S. 298, 322-23 (1957).

       2.      The Overbreadth Doctrine

       As the Second Circuit explained in Farrell v. Burke, “[o]verbreadth challenges are a form

of First Amendment challenge and an exception to the general rule against third-party standing.”

449 F.3d at 498, citing Broadrick v. Oklahoma, 413 U.S. 601, 601-12 (1973). As a result, “[a]

party alleging overbreadth claims that although a statute did not violate his or her First

Amendment rights, it would violate the First Amendment rights of hypothetical third parties if

applied to them.” Id., citing Broadrick, 413 U.S. at 612. See also American Booksellers

Foundation v. Dean, 342 F.3d 96, 104 (2d Cir. 2003) (“[i]n the context of the First Amendment,

a party whose speech could be constitutionally regulated is permitted to challenge a statute based

                                                 35
on its overbreadth, the fact that the statute regulates not only their unprotected speech but also a

substantial amount of protected speech”) (citation omitted).

       As the Second Circuit has stated, “[a] law is overbroad, and hence void, if it ‘does not

aim specifically at evils within the allowable area of State control, but, on the contrary, sweeps

within its ambit other activities that . . . constitute an exercise of freedom of speech or of the

press.’” United States v. Rahman, 189 F.3d 88, 115 (2d Cir. 1999), quoting Thornhill v.

Alabama, 310 U.S. 88, 97 (1940).14

       Ultimately, “[w]hen a court finds that a statute suffers from such substantial overbreadth,

all enforcement of the statute is generally precluded.” American Booksellers, 342 F.3d at 104.

Also, “[a]ll overbreadth challenges are facial challenges, because an overbreadth challenge by its

nature assumes that the measure is constitutional as applied to the party before the court.” 449

F.3d at 498.

       However, as the Second Circuit noted in Farrell, “[o]verbreadth and vagueness are

different doctrines.” 449 F.3d at 498. In fact, “‘[a] clear and precise enactment [for vagueness

purposes] may nevertheless be “overbroad” if in its reach it prohibits constitutionally protected

conduct.’” Grayned v. City of Rockford, 408 U.S. at 114. Thus, as in Farrell, even an

unsuccessful vagueness challenge will

               not be a barrier to [an] overbreadth challenge[], because
               overbreadth challenges are based upon the hypothetical application
               of the statute to third parties. A plaintiff claiming overbreadth
               need not show that the challenged regulation injured his or her
               First Amendment interests in any way in order to bring the


       14
           In Rahman, which involved charges of seditious conspiracy, the Court noted that while
speech can be regulated by such statutes, “political speech and religious exercise are among the
activities most jealously guarded by the First Amendment.” 189 F.3d at 117.

                                                  36
               overbreadth challenge.

449 F.3d at 498-99.

       In Farrell, the Court instructed that “[i]n order to prevail on an overbreadth challenge,

‘the overbreadth of a statute must not only be real, but substantial as well, judged in relation to

the statute's plainly legitimate sweep.’” Id., at 499, quoting Broadrick, 413 U.S. at 615. In

performing overbreadth analysis, a court,

               [a]s with facial vagueness challenges, [] must consider not only
               conduct clearly prohibited by the regulation but also conduct that
               arguably falls within its ambiguous sweep. The purpose of an
               overbreadth challenge is to prevent the chilling of constitutionally
               protected conduct, as prudent citizens will avoid behavior that may
               fall within the scope of a prohibition, even if they are not entirely
               sure whether it does.

Id., at 499 (emphasis in original).15

       Also, the canons of statutory construction dictate that Mr. Ulbricht’s “as applied”

challenge be considered first. In American Booksellers Foundation, 342 F.3d at 105, the Court

stated, “[a]s the Supreme Court held in Board of Trustees v. Fox, it is ‘generally [not] desirable [

] to proceed to an overbreadth issue unnecessarily.’ 492 U.S. 469, 484-85 (1989). Thus, ‘the

lawfulness of the particular application of the law should ordinarily be decided first.’ Id. at 485;

see also Brockett v. Spokane Arcades, Inc., 472 U.S. 491, 504 (1985).” See also Broadrick, 413

U.S. at 613 (if the statute is overbroad, it may not be enforced “until and unless a limiting

construction or partial invalidation so narrows it as to remove the seeming threat or deterrence to


       15
          As with the vagueness challenge in Farrell, the overbreadth challenge failed for
reasons entirely distinguishable from the circumstances here: “First Amendment rights as a
paroled sex offender were circumscribed, and because [he] was the only person affected by the
Special Condition, we cannot say that the Special Condition's overbreadth was both real and
substantial in relation to its plainly legitimate sweep.” 449 F.3d at 499.

                                                 37
constitutionally protected expression”).16

       3.      If the Statutes At Issue Herein Cover Mr. Ulbricht’s Alleged
               Conduct, They Are Unconstitutional As Applied to Him In This Case

       As demonstrated ante in the analysis of the breadth of the statutes at issue in this case,

and their traditional, and in many instances, exclusive, usage, if they apply to the conduct alleged

against Mr. Ulbricht in the Indictment, those statutes are unconstitutional as applied. The

foregoing analysis in sections A, B, C, and D of this Point (which will not be repeated here)

establish that §846, §848(a), and §1030 did not provide notice to Mr. Ulbricht, the alleged

operator of a web site, that the conduct alleged against him would be covered by those statutes.

       In addition, in light of the lack of a single prosecution of a search engine, ISP, or browser

for accommodating web sites and/or activity that involve illegal conduct, application of the

statutes at issue here would constitute arbitrary and discriminatory enforcement. Indeed, the gulf

between civil immunity enjoyed by all other internet providers and the criminal liability and

potential punishment Mr. Ulbricht faces is incalculably vast.

       Moreover, application of those statutes herein would render them overbroad, as they

would undoubtedly chill First Amendment activity on the internet that Congressional policy, via

§230, seeks instead to foster, “as prudent citizens will avoid behavior that may fall within the

scope of a prohibition, even if they are not entirely sure whether it does.” Farrell, 449 F.3d at

499.

       Accordingly, for all the reasons set forth above, it is respectfully submitted that Counts



       16
            Accordingly, in American Booksellers, the Court followed “‘the normal rule that
partial, rather than facial, invalidation is the required course,” and leave for another day an
overbreadth challenge to the statute. 342 F.3d at 105, quoting Brockett, 472 U.S. at 504.

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One, Two, and Three should be dismissed.

                                            POINT II

                       COUNT THREE SHOULD BE DISMISSED BECAUSE
                       THE CRITICAL STATUTORY TERM “ACCESS
                       WITHOUT AUTHORIZATION” IN §1030(a)(2)(C) IS
                       UNDEFINED, AND THEREFORE UNCONSTITUTIONALLY
                       VAGUE AS APPLIED TO MR. ULBRICHT IN THIS CASE

         Congress’s primary motivation in enacting the CFAA, the first federal computer crime

law, in 1984 was to criminalize “the activities of so-called ‘hackers’ who have been able to

access (trespass into) both private and public computer systems.” H.R. Rep. No. 98-894, at 10

(1984), reprinted in 1984 U.S.C.C.A.N. 3689, 3695. See also S. Rep. No. 99-432, at 7-12

(1986), reprinted in 1986 U.S.C.C.A.N. 2479, 2484-90 (CFAA is a computer trespass statute that

prohibits breaking into a computer much like physical trespass laws prohibit breaking into a

home).

         The House Judiciary Committee, in recommending enactment of 18 U.S.C. §1030,

explained that the newfound ability of “hackers” to use personal computers to circumvent

“identification code/password system[s]” had enabled a “recent flurry of electronic trespassing

incidents.” 1984 U.S.C.C.A.N. at 3696 (describing the hacker threat by reference to the film

WAR GAMES (1983), “show[ing] a realistic representation of the … access capabilities of the

personal computer”). Targeting this conduct, the Committee added, “the conduct prohibited is

analogous to that of ‘breaking and entering’ rather than using a computer (similar to the use of a

gun) in committing the offense.” 1984 U.S.C.C.A.N. at 3706.

         Accordingly, when 18 U.S.C. § 1030 was enacted in 1984, it was narrowly limited to

computer misuse to obtain national security secrets or personal financial records, or hacking into


                                                39
government computers. Id. Since that time, and despite its originally narrow focus on

criminalizing hacking into government computers or financial institution servers, a series of

amendments (the first of which were passed just two years after the CFAA’s enactment) have

vastly expanded the CFAA to potentially criminalize everyday computer use.

       In 1996, Congress dramatically expanded the CFAA by extending its reach to any

“protected computer,” a term that included any computer “which is used in interstate or foreign

commerce or communication[.]” 18 U.S.C. § 1030(e)(2) (Supp. II 1996). The 1996

amendments also expanded §1030(a)(2) – which originally prohibited only unauthorized access

to obtain financial records from financial institutions, card issuers, or consumer reporting

agencies – to include unauthorized access to obtain any information of any kind from any

“protected computer.” 18 U.S.C. § 1030(a)(2) (Supp. II 1996).

       The stated purpose of expanding the CFAA’s scope was to protect additional types of

“vital” private information from hacking, rather than just credit records and financial

information:

               Section 1030(a)(2) currently gives special protection only to
               information on the computer systems of financial institutions and
               consumer reporting agencies, because of their significance to our
               country’s economy and the privacy of our citizens. Yet,
               increasingly computer systems provide the vital backbone to many
               other industries, such as transportation, power supply systems, and
               telecommunications. [Thus, t]he bill would amend section
               1030(a)(2) and extend its coverage to information held on (1)
               Federal Government computers and (2) computers used in
               interstate or foreign commerce on communications, if the conduct
               involved an interstate or foreign communication.

S. Rep. No. 104-357, at 7 (1996), 1996 WL 492169.

       The language employed in the 1996 amendments essentially extended §1030(a)(2) to any


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unauthorized access of a computer occurring over the Internet, since the legislature had already

interpreted “obtain[ing]” information to include simply reading it, and because nearly all Internet

communications are interstate communications. See Kyle W. Brenton, Trade Secret Law and the

Computer Fraud and Abuse Act: Two Problems and Two Solutions, 2009 U. Ill. J.L. Tech. &

Pol’y 429, 433 (2009); see also United States v. Fowler, ____ F.Supp.2d ____, 2010 WL

4269618, at *2 (M.D. Fla. Oct. 25, 2010) (listing cases).

       Thus, combined with the ubiquitous use of computers, smartphones, tablets, or any other

Internet-enabled device in today’s world, the breadth of the CFAA, as it stands today, places

special importance on the meaning of “authorization,” such that a broad construction of

“authorization” potentially criminalizes an enormous amount of routine Internet activity and

would, render the CFAA unconstitutionally vague.

       Indeed, in the context of an Internet user’s access to information on a public website,

judicial efforts to construe “authorization” under § 1030(a)(2)(C) have failed to date to provide

clear guidance to courts or ordinary citizens within the CFAA’s reach. See EF Cultural Travel

BV v. Explorica, Inc., 274 F.3d 577, 582 n.10 (1st Cir. 2007) (“Congress did not define the

phrase ‘without authorization,’ perhaps assuming that the words speak for themselves. The

meaning, however, has proven to be elusive.”).

       The root of the problem is that restricting access to publicly-viewable information on the

Internet based on subjective notions of consent inevitably fails to provide adequate notice to

computer users, and criminalizes common Internet use. For example, the Fifth Circuit has

approached the “authorization” question by reference to whether a user’s access constitutes an

“intended use” of a computer owner or website host. See United States v. Phillips, 477 F.3d 215,


                                                 41
220 (5th Cir. 2007) (analyzing “scope of a user’s authorization to access a protected computer on

the basis of the expected norms of the intended use or the nature of the relationship established

between the computer owner and the user”); see also United States v. John, 597 F.3d 263, 272

(5th Cir. 2010).

       This approach, which prohibits accessing public websites based on the intention of the

website host (whether communicated or not), has disturbing implications. Also, the divergent

opinions on these issues, see, e.g., Nosal, 676 F.3d at 856-64 (holding such use as criminalized

in John did not violate the statute), sows confusion and essentially guarantees arbitrary and

discriminatory enforcement.

       Other courts have adopted a different approach to the “authorization” question, adopting

a standard under which a computer user lacks authorization to access a computer if the user’s

access violates a website’s terms of use. See e.g., EF Cultural Travel BV v. Zefer Corp., 318

F.3d 58, 62 (1st Cir. 2003) (noting that a lack of authorization could be established by a violation

of “an explicit statement on the website restricting access”); Register.com, Inc. v. Verio, Inc.,

126 F. Supp. 2d 238, 251 (S.D.N.Y. 2000).

       But that standard is also flawed because it allows “behavior that wasn’t criminal

yesterday [to] become criminal today without an Act of Congress, and without any notice

whatsoever.” Id. at 862. Since there are no other textual limitations on the scope of conduct

prohibited under §1030(a)(2), the terms-of-use standard makes “section 1030(a)(2)(C) [into] a

law ‘that affords too much discretion to the police and too little notice to citizens who wish to

use the [Internet].” Drew, 259 F.R.D. 449, 467 (C.D.Cal. 2009), citing City of Chicago v.

Morales, 527 U.S. 41, 64 (1999).


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       So construed, the statute would be unconstitutionally vague under the Due Process

Clause, as it would constitute a trap “for the wary as well as the unwary.” Gentile v. State Bar of

Nevada, 501 U.S. 1030, 1048-51 (1991). Accordingly, and in light of the attenuated nature of

the conduct alleged against Mr. Ulbricht (discussed ante, throughout POINT I), the CFAA is

unconstitutionally vague as applied to him here.

                                           POINT III

                        COUNT FOUR SHOULD BE DISMISSED BECAUSE IT
                        FAILS TO ALLEGE SUFFICIENTLY THE ESSENTIAL
                        ELEMENT OF A “FINANCIAL TRANSACTION[],”
                        WHICH MUST INVOLVE EITHER “FUNDS” OR A
                        “MONETARY INSTRUMENT[],” NEITHER OF WHICH
                        INCLUDES BITCOIN WITHIN §1956'S DEFINITIONS

       Count Four, which charges Mr. Ulbricht with participating in a money laundering

conspiracy in violation of 18 U.S.C. §1956(h), must be dismissed because the allegation lacks an

essential element: that the “financial transactions” alleged involved “monetary instruments.” As

demonstrated below, confirmed by formal publications issued by the Internal Revenue Service

(hereinafter “IRS”) and the Department of the Treasury’s Financial Crimes Enforcement

Network (hereinafter “FinCEN”), Bitcoins, the exclusive means of payment on Silk Road, do not

qualify as “monetary instruments,” and therefore cannot serve as the basis for a money

laundering violation.




                                                43
A.     The Relevant Provisions of the Money Laundering Statute, 18 U.S.C. §1956

       The operative conduct description of a violation of §1956 as alleged in the Indictment is

set forth in §1956(a)(1):

               Whoever, knowing that the property involved in a financial
               transaction represents the proceeds of some form of unlawful
               activity, conducts or attempts to conduct such a financial
               transaction which in fact involves the proceeds of specified
               unlawful activity—

       In turn, as provided in §1956(c)(4),

               the term “financial transaction” means

               (A)     a transaction which in any way or degree affects interstate
                       or foreign commerce

                       (i)     involving the movement of funds by wire or other means or
                       (ii)    involving one or more monetary instruments, or
                       (iii)   involving the transfer of title to any real property, vehicle, vessel,
                               or aircraft, or

               (B)     a transaction involving the use of a financial institution which is engaged
                       in, or the activities of which affect, interstate or foreign commerce in any
                       way or degree[.]

       The term “monetary instruments” is defined in §1956(c)(5) as

               (i)     coin or currency of the United States or of any other
                       country, travelers’ checks, personal checks, bank checks,
                       and money orders, or
               (ii)    investment securities or negotiable instruments, in bearer
                       form or otherwise in such form that title thereto passes
                       upon delivery[.]

See also United States v. Hassan, 578 F.3d 108, 127 (2d Cir. 2009) (discussing elements of a

§1956 violation).

       The importance of a “monetary instrument” to the violation of §1956 is manifest from the

title of the statute: “Laundering of monetary instruments.”

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B.     The Money Laundering Allegations In Count Four of the Indictment

       Count Four charges that the violation of §1956 involved “financial transactions,” see

Indictment, at ¶¶ 20 (twice) & 21 (twice) (pp. 8-9). The Indictment also alleges that Bitcoin

constituted the exclusive “payment system that served to facilitate the illegal commerce

conducted on the [Silk Road] site[.]” Id., at ¶ 18 (p. 7).

C.     Bitcoin and the Features of Digital Currencies

       As noted by the Congressional Research Service (hereinafter “CRS”) in its cogent history

and explanation of Bitcoin, Bitcoin is a decentralized, pseudonymous, digital crypto-currency –

it is not backed by any nation or central bank, it can be used without the user revealing to the

other party his or her identity, it exists in the virtual and not corporeal world, and is based on a

cryptographic formula that is designed to facilitate a public record of all Bitcoin transactions and

thereby thwart duplication and fraud. See Craig K. Elwell, M. Maureen Murphy, and Michael V.

Seitzinger, “Bitcoin: Questions, Answers, and Analysis of Legal Issues,” Congressional

Research Service, December 20, 2013 (hereinafter “CRS Report”), available at

<http://www.fas.org/sgp/crs/misc/R43339.pdf>.

       Also, as CRS notes, “[u]nlike the dollar, a Bitcoin is not legal tender nor is it backed by

any government or any other legal entity, nor is its supply determined by a central bank.” Id., at

1. In addition, “[t]he Bitcoin system is private, but with no traditional financial institutions

involved in transactions.” Id. See also id., at 13 (“digital currencies are able to operate without

involving a financial institution”).




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D.     Count Four Must Be Dismissed Because Bitcoins Do Not Qualify As “Funds”
       Under §1956(c)(4)(A)(i) or “Monetary Instruments” Under §1956(c)(5)

       As the CRS Report points out, it “identified some federal statutes and regulatory regimes

that may have some applicability to digital currency, although none contains explicit language to

that effect or explicitly mentions currency not issued by a government authority.” Id., at 9. See

also Anthony S. Barkow and Nathaniel H. Benforado, “Bitcoin: What It Is and How It’s

Regulated In the U.S.,” The New York Law Journal, February 24, 2014, at 2 (hereinafter

“Barkow and Benforado”), available at

<http://www.newyorklawjournal.com/id=1202643086826/bitcoin+what+it+is+and+how+its+reg

ulated+in+the+us?mcode=0&curindex=0&curpage=all> (“most U.S. regulators have not issued

formal guidance or regulations directly addressing Bitcoins or other similar virtual currencies”).

       1.      The IRS and FinCEN Publications

       However, that was before the IRS issued a Notice earlier this week. See Notice 2014-21

(attached hereto as Exhibit 1, and available at <http://www.irs.gov/pub/irs-drop/n-14-21.pdf>).

In that Notice, the IRS confirmed that virtual currency “does not have legal tender status in any

jurisdiction.” Id., at 1. Also, in a “Frequently Asked Questions” section of the Notice, the IRS

announced its policy position that (1) “virtual currency is treated as property.” Id., at 2 (A-1);

and (2) “virtual currency is not treated as currency . . .” Id. (A-2).

       The IRS would not, however, adopt a position as to what type of property Bitcoin

constituted, stating only that “[t]he character of the gain or loss generally depends on whether the

virtual currency is a capital asset in the hands of the taxpayer.” Id., at 3 (A-7, which proceeds to

provide examples of capital assets and non-capital assets without classifying virtual currencies).

       The CRS Report had presaged the IRS’s decision, pointing out that a General Accounting

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Office report “also notes that the tax code lacks clarity about how virtual currency is to be

treated for reporting purposes. It is property, barter, foreign currency, or a financial

instrument?” CRS Report, at 10 (emphasis added). Clearly, according to the IRS, Bitcoin is the

first (property) and not the last (a financial instrument).

       Prior to the IRS’s Notice, FinCEN had issued in March 2013 “guidance” with respect to

virtual currencies. See U.S. Department of the Treasury, Financial Crimes Enforcement

Network, “Guidance, Application of FinCEN’s Regulations to Persons Administering,

Exchanging, or Using Virtual Currencies,” March 18, 2013 (hereinafter “FinCEN Guidance”),

available at <http://fincen.gov/statutes_regs/guidance/html/FIN-2013-G001.html>.

       FinCEN’s Guidance notes that “FinCEN’s regulations define current (also referred to as

‘real’ currency) as ‘the coin and paper money of the United States or of any other country that [i]

is designated as legal tender and that [ii] circulates and [iii] is customarily used and accepted as

a medium of exchange in the country of issuance.” Id., at 1.

       FinCEN’s Guidance proceeds to distinguish virtual currencies: “[i]n contrast to real

currency, ‘virtual’ currency is a medium of exchange that operates like a currency in some

environments, but does not have all the attributes of real currency.” Id. Notably, “virtual

currency does not have legal tender status in any jurisdiction.” Id.

       FinCEN’s Guidance was explicitly designed to address FinCEN’s regulations

implementing the Bank Secrecy Act (hereinafter “BSA”), particularly those affecting a money

service business (hereinafter “MSB”). See CRS Report, at 14 (“FinCEN issued interpretative

guidance[] requiring Bitcoin exchanges – individuals and businesses that exchange Bitcoins into

U.S. or foreign currency into Bitcoins – to register as money services businesses pursuant to the


                                                  47
BSA”).17

          However, commentators have certainly noticed that the Bitcoin issue “reveals a potential

gap in international enforcement regimes[,]” and have remarked that “the U.S. money laundering

statutes contain terms such as ‘monetary instrument’ and ‘monetary transaction’ that are defined

as coin or currency of the U.S. or any other country[,]” concluding that “these terms arguably do

not apply to bitcoins.” Nicholas M. De Feis and Phillip C. Patterson, “Bitcoins: ‘Illegal Tender’

or Currency of the Future?” The New York Law Journal, January 30, 2014 (hereinafer “DeFeis

and Patterson”), available at

<http://www.newyorklawjournal.com/cs/Satellite?c=Article_C&childpagename=NY%2FArticle

_C%2FArticle%2FLayouts%2FPrinterFriendly&pagename=ALM_Wrapper&cid=12026405625

64#>.18

          Indeed, all the recent coverage of bitcoins, and analysis of its regulatory status, mention

this case (as well as two other Silk Road-related prosecutions in this District) as the first instance

of criminal prosecution of Bitcoin use in the internet marketplace. See, e.g., Barkow and




          17
           The provisions of the Bank Secrecy Act and the regulations governing MSB’s are not
pertinent here because (a) the Indictment does not charge violations of the BSA; and (b) Silk
Road would not be covered under those regulations because it did not perform the functions that
would have classified it as an MSB.
          18
          Demonstrating further the confusion and uncertainty regarding bitcoin’s status, in
December a Norwegian official reportedly stated that “Bitcoin would not be called money and
would be treated as an investment asset.” Nathaniel Popper and Neil Gough, “Bitcoin,
Nationless Currency, Still Feels Governments’ Pinch,” The New York Times, December 19,
2013, available at <http://dealbook.nytimes.com/2013/12/18/bitcoin-collides-with-government-
concerns/?_php=true&_type=blogs&_r=0>. Also, in December 2013, China’s central bank
banned Chinese banks from accepting bitcoins. Id.

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Benforado; DeFeis and Patterson.19

        2.      Bitcoin Does Not Qualify As Either “Funds” or “Monetary Instruments”

        As noted ante, a violation of §1956 requires a “financial transaction,” and the Indictment

employs that construction as well. Under §1956's definitional sections, a “financial transaction”

requires the involvement of either “funds” [§1956(c)(4)(A)(i)], or “monetary instruments”

[§1956(c)(4)(A)(ii)], or “transfer of title to any real property, vehicle, vessel, or aircraft,”

[§1956(c)(4)(A)(iii)], or the use of a “financial institution” [§1956(c)(4)(A)(iv)].

        Bitcoin does not qualify under any prong of that definition. Both IRS and FinCEN have

categorically declared that Bitcoins are not “funds.” Also, a “monetary instrument” is either

“coin or currency of the United States or of any other country, travelers’ checks, personal

checks, bank checks, and money orders,” §1956(c)(5)(i) – again, negated by IRS’s and

FinCEN’s pronouncements – or “investment securities or negotiable instruments, in bearer form

or otherwise in such form that title thereto passes upon delivery[,]” §1956(c)(5)(ii) – a character

neither IRS nor FinCEN has ascribed to Bitcoin.

        Thus, an essential element of §1956 – a “financial transaction” – is absent because a

necessary component thereof – either “funds” or “monetary instruments” – is lacking.

Consequently, it is respectfully submitted that Count Four must be dismissed.




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           The Securities and Exchange Commission had previously instituted a civil action –
alleging a Ponzi scheme – against an investment firm that touted bitcoins to its customers as an
investment vehicle in a fraudulent manner. See SEC v. Shavers, 2013 WL 4028182 (E.D. Tx.
August 6, 2013). As noted in the CRS Report, at 11, in Shavers the SEC convinced a judge
Bitcoin was money (and qualified as a “security”), but that decision is now in irreconcilable
conflict with the policies of both IRS and FinCEN.

                                                   49
                                           Conclusion

       Accordingly, for all the reasons set forth above, it is respectfully submitted that Mr.

Ulbricht’s pretrial motions addressing the face of the Indictment should be granted in their

entirety, and the Indictment against him dismissed.

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